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                    EXHIBIT B
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                                                                   Page 1

 1                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF NEW JERSEY
 2
 3
 4
 5      HIS ALL HOLINESS,                       )
        BARTHOLOMEW I, THE                      )
 6      ARCHBISHOP OF                           )
        CONSTANTINOPLE, NEW ROME,               )
 7      AND ECUMENICAL PATRIARCH,               )
        et al.,                                 )
 8                                              )
           Plaintiffs,                          )
 9                                              )
        vs.                                     ) Civil No.
10                                              ) 3:18-CV-17195-MAS-ZNQ
                                                )
11      PRINCETON UNIVERSITY,                   )
                                                )
12            Defendant.                        )
13
14
15
16
17                      The Interpreted Zoom video deposition of
18         ALEXANDER APOSTOLIDIS, taken before Richard Derrick
19         Ehrlich, Registered Merit Reporter, Certified
20         Realtime Reporter, taken pursuant to the Federal
21         Rules of Civil Procedure, commencing at 6:00 a.m.,
22         on the 18th day of May, 2021.
23
24

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                                                                   Page 2

 1                          A P P E A R A N C E S
 2
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21
        Also Present:
22
        Videographer, Michael Prager
23      Michele Stopera Freyhauf
24

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 1                                 I N D E X
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        Exhibit No. 17 -                                                    32
 7      Amended Notice of Deposition
 8      Exhibit No. 19 -                                                    46
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10      Metropolis Website Excerpts
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 1            your dining room table length is?
 2                      MR. TSOUGARAKIS:      Objection.
 3                      THE DEPONENT:    Well, I can only answer that
 4            hypothetically, which means I will not be saying
 5            the truth.       So if I'm not going to be able to
 6            say the truth, I don't know.
 7      BY MR. GOLDFARB:
 8      Q     An estimation is by definition not precise.                 So
 9            I'm simply asking you for an estimate.
10                      MR. TSOUGARAKIS:      Objection.
11                      THE DEPONENT:    I have not hidden from you
12            that I had asked for the professional help of
13            Mr. Papazoglou.
14      BY MR. GOLDFARB:
15      Q     When did you first speak with Mr. Papazoglou?
16                      MR. TSOUGARAKIS:      Objection.
17                      INTERPRETER:    Okay.      I hope I got this
18            right.
19                      THE DEPONENT:    I first asked for his help
20            in 2013.       We started working together intensely
21            in 2016, which is the time when I had asked him
22            to be the author of the volume that he composed
23            for me.
24          \\\


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 1      BY MR. GOLDFARB:
 2      Q     Mr. Papazoglou --
 3                      MR. TSOUGARAKIS:      Objection.
 4      BY MR. GOLDFARB:
 5      Q     Mr. Papazoglou contacted you shortly after you
 6            became the Metropolitan of Drama; isn't that
 7            true?
 8      A     Well, when I met him in 2013, as I have told
 9            you, I was the Metropolitan in Drama.
10      Q     Isn't it true that Mr. Papazoglou came to you
11            shortly after 2005, before 2013, to speak with
12            you?
13      A     No, I don't recall such a thing.              I arrived here
14            on the 19th of November of 2005.              I didn't
15            have the desire to speak with Papazoglou.
16      Q     I'm talking about whether Mr. Papazoglou wanted
17            to speak with you.         He contacted you shortly
18            after you took your position as Metropolitan and
19            asked to speak with you about the stolen
20            manuscripts, didn't he?
21                      MR. TSOUGARAKIS:      Objection.
22                      THE DEPONENT:    I don't know what Papazoglou
23            desired to do.       I cannot speak on behalf of what
24            Papazoglou was thinking.


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 1      BY MR. GOLDFARB:
 2      Q     Did Mr. Papazoglou call you, email you, or write
 3            to you shortly after you assumed the position of
 4            Metropolitan in 2005?
 5                      MR. TSOUGARAKIS:      Objection.
 6                      THE DEPONENT:    I don't have any such
 7            communication in my hands.               Whatever
 8            correspondence there was between myself and
 9            Papazoglou for the issues that we are discussing
10            here you already have in your hands.
11                      Now Mr. Steven, dear Steven is reminding me
12            of an incident in the Bible with certain persons
13            from Herodian try to entrap Jesus Christ by some
14            clever questions.
15                      I have never said such a thing, nor have I
16            made any statements that I had any communication
17            with Mr. Papazoglou in 2005.
18      BY MR. GOLDFARB:
19      Q     I appreciate that.         My question was:         Isn't it
20            true that Mr. Papazoglou called you, emailed
21            you, or wrote to you shortly after you became
22            Metropolitan to speak with you regarding stolen
23            manuscripts?
24                      MR. TSOUGARAKIS:      Objection.


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 1            The translation is bad.             I'll just object.
 2                      You've heard the question again.          I would
 3            ask you to retranslate the question now you've
 4            heard it again.          That's all.
 5                      INTERPRETER:     Can I please hear the
 6            question again?
 7                      MR. TSOUGARAKIS:      Sorry, Steve.
 8      BY MR. GOLDFARB:
 9      Q     Sure.       When you received this email, did you
10            discuss with Mr. Papazoglou what were the
11            documents that he had sent to Dionysios 30 years
12            earlier?
13      A     No, because I understood that it was pertaining
14            to the stolen items from -- with the Bulgarians,
15            which had just recently appeared with judava.
16      Q     Why would you think that the documents sent
17            30 years ago did not refer to Princeton?
18                      MR. TSOUGARAKIS:      I think she's gone again,
19            right?
20                      VIDEOGRAPHER:     Shall we go off the record?
21                      MR. GOLDFARB:     Yes, let's go off the
22            record.
23                      VIDEOGRAPHER:     We are going off the record.
24            The time is 12:33 p.m.


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 1                      (Break.)
 2                      VIDEOGRAPHER:      We are back on the record.
 3            The time is 12:35 p.m.
 4                      Please proceed.
 5      BY MR. GOLDFARB:
 6      Q     Did you ask Mr. Papazoglou what documents he had
 7            sent to Dionysios?
 8      A     No.
 9      Q     From this email, you knew that Mr. Papazoglou
10            had been in communication with Metropolitan
11            Dionysios, correct?
12                      MR. TSOUGARAKIS:        Objection.
13                      THE DEPONENT:      That he sent one file.       I
14            didn't know that he had communication.
15      BY MR. GOLDFARB:
16      Q     You knew that he had sent documents 30 years ago
17            to Dionysios, right?
18      A     No.
19      Q     And you've never asked Mr. Papazoglou about any
20            of his communications with Dionysios; is that
21            correct?
22      A     I don't know if he had any other communication
23            with him.
24      Q     If the Metropolis wanted to learn that


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